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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MELISSA A. SADOWSKI and ANTHONY R. Civil Action No.
SADOWSKI,
Plaintiffs,
NOTICE OF REMOVAL
VS.

ACE HARDWARE CORPORATION,

Defendant.

 

 

PLEASE TAKE NOTICE that Defendant Ace Hardware Corporation (“AHC”), by its
undersigned counsel, hereby files this Notice of Removal pursuant to 28 U.S.C. § 1441 and 28
U.S.C. § 1446 in the Office of the Clerk of the United States District Court for the Eastern
District of Pennsylvania, for removal of the above-captioned litigation from the Court of
Common Pleas, Philadelphia County, Pennsylvania Trial Division, Case ID No.: 181102708,
where it is now pending to the United States District Court for the Eastern District of
Pennsylvania,

INTRODUCTION

1, This action was brought against AHC by Plaintiffs, Mellissa A. Sadowski and
Anthony R. Sadowski (collectively, “Plaintiffs”) to recover damages sustained as a result of an
October 3, 2018 automobile accident. Plaintiffs are citizens of Pennsylvania, and AHC is a
citizen of Illinois and Delaware. Because there is complete diversity and the amount in
controversy exceeds $75,000.00, this Court may exercise removal jurisdiction over the action

pursuant to 28 U.S.C. §§ 1441(a) and (b).

 

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PARTIES

2. As stated in the Complaint, Plaintiffs, at the time this action was commenced,
were and still are citizens and domiciliaries of the State of Pennsylvania, residing the
Warminster, Pennsylvania. (See Plaintiffs’ Complaint (“Complaint”) at 4 1, attached hereto as
Exhibit A).

3, AHC is a Delaware corporation, with its principal place of business in Oak Brook,
Mlinois. (id, at { 2).

PROCEEDINGS TO DATE

4, On November 27, 2018, Plaintiffs filed a Complaint styled Melissa A. Sadowski
and Anthony R. Sadowski v, ACE Hardware Corporation, Case ID No.: 181102708, in the Court
of Common Pleas, Philadelphia County, Pennsylvania Trial Division.

5. In accordance with Fed. R. Civ, P. 81(c)(2)(C), AHC will file a responsive
pleading within seven (7) days after this Notice of Removal is filed.

TIMELINESS

6. On or about December 11, 2018, AHC’s registered agent was served with a copy
of the Summons and Complaint. (See Certification of Catherine G. Bryan, Esq. (“Bryan Cert.”)
at { 2, attached hereto as Exhibit B).

7. AHC timely filed this Notice of Removal within thirty (30) days of its receipt of
the Summons and Complaint as required by 28 U.S.C. § 1446(b).

GROUNDS FOR REMOVAL
8. A natural person is deemed to be a citizen of the state where they are domiciled.

swiger v. Allegheny Energy, Inc., 540 F.3d 179, 182 (3d Cir. 2008) (citation omitted). To be

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domiciled in a state, a person must reside there and intend to remain indefinitely. Krasnov_v,
Dinan, 465 F.2d 1298, 1300-01 (3d Cir. 1972). A person may have only one domicile, and thus
may be a citizen of only one state for diversity jurisdiction purposes, See Williamson v. Osenton,
232 U.S. 619 (1914).

9, As stated in the Complaint, Plaintiffs, at the time this action was commenced,
were and still are citizens and domiciliaries of the State of Pennsylvania, residing at 833
Longstreth Road, Warminster, Pennsylvania, (See Complaint at | 1). Thus, Plaintiffs are citizens
of Pennsylvania for diversity purposes.

10. For purposes of diversity jurisdiction, a corporation is considered a resident of the
state in which it is incorporated and the state in which it maintains its principal place of business.
28 U.S.C. § 1332(c)}(1).

11. At the time this action was commenced AHC, was and still is a Delaware
corporation with its principal place us business at its headquarters located at 2200 Kensington
Court, Oak Brook, Illinois, (See Complaint at € 2). Thus, AHC is a citizen of Delaware and
Illinois for diversity purposes.

12. Accordingly, there is complete diversity amongst the parties in interest,

13, ‘Plaintiffs Melissa A. Sadowski and Anthony R. Sadowski have each demanded
judgment in their favor against AHC in an amount in excess of $50,000.00, plus interest and
taxable costs. (See Complaint at WHEREFORE sections, Count I and Count II).

14, Plaintiff, Melissa A. Sadowski, alleges that a result of the October 3, 2018
accident at issue, she “sustained catastrophic injuries including fractures of her pelvis, multiple
fractures, lacerations and partial loss of two toes on her left foot, ear/hearing issues, together with

numerous bruises, contusions and lacerations about her body including, but not limited to, her

 

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head, neck and abdomen. Plaintiff Melissa A. Sadowski also suffered a concussion.” (Id. at J
10).

15. As a result of her alleged injuries, plaintiff, Melissa A. Sadowski, was “required
to undergo surgery upon her pelvis and toes, received extensive physical therapy and other
professional medical care and continues to require extensive physical therapy as well as
continued professional medical care.” (Id. at § 12). Plaintiff, Melissa A. Sadowski, further
aileges that she sustained a loss of earnings and/or earning power, as well as significant medical
expenses. (Id. at {J 14-15).

16. Plaintiff, Anthony R. Sadowski, alleges that a result of the accident at issue, “he
has been and will continue to be deprived of the care, compassion and services of Melissa A.
Sadowski and he has suffered and will in the future continue to suffer a loss of earning power.”
(Id. at § 20).

17, AHC, therefore, presents a good faith application to the Court that Plaintiffs’
Complaint seeks damages in excess of the amount in controversy requirement of $75,000 in
accordance with 28 U.S.C. § 1332.

VENUE

18, Plaintiffs’ action is pending in the Court of Common Pleas, Philadelphia County,
Pennsylvania Trial Division, which is within this judicial district. See 28 U.S.C. § 110. This
Court is thus the proper venue for removal under 28 U.S.C, §§ 1441 (a) & 1445(a).

NOTICE
19. Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be given to Plaintiffs. (A copy of the Notice of Removal will be filed with the

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Prothonotary of the Pennsylvania Court of Common Pleas, Philadelphia County, Trial Division,
in the form attached hereto as Exhibit C).
CONCLUSION

For the foregoing reasons, Defendant, Ace Hardware Corporation, respectfully demands
that this action, previously pending in the Court of Common Pleas, Philadelphia County,
Pennsylvania Trial Division, be removed to this Court, and that this Court proceed as if this case
had been originally initiated in this Court.
Date: December 28, 2018

Respectfully submitted,

CONNELL FOLEY LLP

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